                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                3:17-CR-00164-RJC-DSC

 UNITED STATES OF AMERICA,                                   )
                                                             )
                          Plaintiff,                         )
                                                             )
     v.                                                      )                ORDER
                                                             )
 ELIZABETH LARRAINE LEWIS (4),                               )
                                                             )
                          Defendant.                         )
                                                             )

          THIS MATTER is before the Court upon motion of the defendant for a continuance of

this matter from the December 4, 2017, trial term in the Charlotte Division, (Doc. No. 74), and to

excuse counsel from the status conference on November 27, 2017, (Doc. No. 73).

          Counsel was appointed on August 18, 2017, to represent one of several defendants

charged with conspiring to distribute methamphetamine. (Doc. No. 1: Indictment; CJA 20).

Although the indictment was superseded on September 19, 2017, to add a co-defendant (Doc.

No. 54), it does not appear that the charges relative to this defendant were altered.

          In the instant motion, counsel states that she needs additional time, given the

Thanksgiving holiday this week and international travel next week, to discuss an anticipated

revised plea offer with the defendant. (Doc. No. 74 at 1-2). The trial of this case has previously

been continued twice, and un-severed co-defendants remain in custody pending resolution of this

matter. Therefore, the Court finds that counsel has not stated sufficient cause for a continuance

in this matter.

          IT IS, THEREFORE, ORDERED that the defendant’s motion to continue, (Doc. No.

74), is DENIED.




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       IT IS FURTHER ORDERED that counsel’s motion to be excused from the status

conference, (Doc. No. 73), is GRANTED, provided that counsel appear for trial as directed

during the December 2017 term, if necessary.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.


                                              Signed: November 20, 2017




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